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                United States Court of Appeals
                           FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                    ____________


No. 23-1096                                               September Term, 2024
                                                                  EPA-08/11/2022 Order
                                                 Filed On: September 24, 2024 [2076399]
Cherokee Concerned Citizens,

             Petitioner

      v.

Environmental Protection Agency and
Michael Regan, Administrator, United
States Environmental Protection Agency,

             Respondents

                                       ORDER

      It is ORDERED, on the court's own motion, that the briefing schedule entered on
August 29, 2024, be suspended pending further order of the court.

                                                        FOR THE COURT:
                                                        Mark J. Langer, Clerk

                                                BY:     /s/
                                                        Michael C. McGrail
                                                        Deputy Clerk
